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CASE CAPTION: United States v. Tew, et al.

CASE NO.: 20-cr-305-DDD

EXHIBIT LIST OF: United States of America, Plaintiff
                         (Name and Party Designation)



 Exhibit           Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                       Brief Description
                                                                                                                                                      Only

    1                                          INTENTIONALLY LEFT BLANK


                                     Signature Bank Statement re Account x5529 National Air
    2
                                     Cargo Holdings, statement period 08.01.2018-08.31.2018

                                     Signature Bank Statement re Account x5529 National Air
    3
                                     Cargo Holdings, statement period 10.01.2018-10.31.2018


    4                                          INTENTIONALLY LEFT BLANK


                                     Signature Bank Statement re Account x5529 National Air
    5
                                     Cargo Holdings, statement period 11.01.2018-11.30.2018


    6                                          INTENTIONALLY LEFT BLANK


                                     Signature Bank Statement re Account x5529 National Air
    7
                                     Cargo Holdings, statement period 12.01.2018-12.31.2018

                                     Signature Bank ACH Transaction re $15,250 to Political
    8
                                                    Media, dated 02.07.2019

                                     Signature Bank ACH Transaction re $15,250 to Political
    9
                                                    Media, dated 02.19.2019

                                     Signature Bank ACH Transaction re $38,000 to Political
    10
                                                    Media, dated 03.28.2019

                                     Signature Bank ACH Transaction re $11,250 to Political
    11
                                                    Media, dated 04.03.2019




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Exhibit   Witness                                                                      Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                           Only

                             Signature Bank ACH Transaction re $45,000 to Global
   12
                                        Fuel Logistics, dated 07.23.2019

                              Signature Bank ACH Transaction re $31,500 to SHI
   13
                                           LLC, dated 08.06.2019

                             Signature Bank ACH Transaction re $9,500 to Global
   14
                                       Fuel Logistics, dated 08.19.2019

                              Signature Bank ACH Transaction re $28,000 to SHI
   15
                                           LLC, dated 08.21.2019

                             Signature Bank ACH Transaction re $45,000 to Global
   16
                                        Fuel Logistics, dated 09.03.2019

                              Signature Bank ACH Transaction re $18,000 to SHI
   17
                                           LLC, dated 09.09.2019

                              Signature Bank ACH Transaction re $33,500 to SHI
   18
                                           LLC, dated 09.17.2019

                              Signature Bank ACH Transaction re $52,750 to SHI
   19
                                           LLC, dated 09.25.2019

                             Signature Bank ACH Transaction re $75,000 to Global
   20
                                        Fuel Logistics, dated 10.16.2019

                             Signature Bank ACH Transaction re $43,000 to Global
   21
                                        Fuel Logistics, dated 10.24.2019

                              Signature Bank ACH Transaction re $49,750 to SHI
   22
                                           LLC, dated 10.31.2019

                              Signature Bank ACH Transaction re $40,500 to SHI
   23
                                           LLC, dated 11.07.2019

                             Signature Bank ACH Transaction re $43,250 to Global
   24
                                        Fuel Logistics, dated 11.25.2019

                             Signature Bank ACH Transaction re $9,550 to Global
   25
                                       Fuel Logistics, dated 12.02.2019

                             Signature Bank ACH Transaction re $24,500 to Global
   26
                                        Fuel Logistics, dated 12.11.2019




                                                                                   2
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Exhibit   Witness                                                                      Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                           Only

                             Signature Bank ACH Transaction re $15,200 to Global
   27
                                        Fuel Logistics, dated 12.23.2019

                             Signature Bank ACH Transaction re $33,000 to Global
   28
                                        Fuel Logistics, dated 02.11.2020

                             Signature Bank ACH Transaction re $95,000 to Global
   29
                                        Fuel Logistics, dated 02.19.2020

                             Signature Bank ACH Transaction re $36,555 to Global
   30
                                        Fuel Logistics, dated 03.02.2020


   31                        Signature Bank ACH Transaction re $35,000 to Global
                                        Fuel Logistics, dated 03.09.2020


   32                       Signature Bank ACH Transaction re $22,5000 to Global
                                       Fuel Logistics, dated 03.19.2020


   33                        Signature Bank ACH Transaction re $73,460 to Global
                                        Fuel Logistics, dated 03.31.2020


   34                        Signature Bank ACH Transaction re $36,925 to Global
                                        Fuel Logistics, dated 04.06.2020


   35                        Signature Bank ACH Transaction re $68,255 to Global
                                        Fuel Logistics, dated 04.15.2020


   36                        Signature Bank ACH Transaction re $46,850 to Global
                                        Fuel Logistics, dated 04.27.2020


   37                        Signature Bank ACH Transaction re $85,325 to Global
                                        Fuel Logistics, dated 05.05.2020


   38                        Signature Bank ACH Transaction re $82,422 to Global
                                        Fuel Logistics, dated 05.12.2020


   39                        Signature Bank ACH Transaction re $78,565 to Global
                                        Fuel Logistics, dated 05.20.2020


   40                        Signature Bank ACH Transaction re $95,000 to Global
                                        Fuel Logistics, dated 07.02.2020


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Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only

   42                       Navy Federal Credit Union Transaction Log Summary re
                              Acct x8486 $15,000 Withdrawl, dated 06.04.2019


   43                       Navy Federal Credit Union Transaction Log Summary re
                              Acct x8486 $15,000 Withdrawl, dated 06.11.2019


   44                       Wells Fargo Bank Withdrawl Slip re Acct x6934 $22,000
                                         Withdrawl, dated 08.28.2019


   45                       Wells Fargo Bank Withdrawl Slip re Acct x2064 $25,000
                                         Withdrawl, dated 08.29.2019


   46                        Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 08.17.2019-09.16.2019


   47                         Wells Fargo Bank Wire Transaction Report re Acct
                                      x6934 $15,000, dated 09.18.2019


   48                       Wells Fargo Bank Withdrawl Slip re Acct x6934 $20,000
                                        Withdrawl, dated 089.26.2019


   49                       Wells Fargo Bank Withdrawl Slip re Acct x6934 $20,000
                                         Withdrawl, dated 09.27.2019


   50                       Wells Fargo Bank Withdrawl Slip re Acct x6934 $20,000
                                         Withdrawl, dated 10.01.2019


   51                       Wells Fargo Bank Withdrawl Slip re Acct x6934 $12,000
                                         Withdrawl, dated 10.02.2019


   52                       Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 11.30.2019


   53                       Wells Fargo Bank Withdrawl Slip re Acct x2064 $20,000
                                         Withdrawl, dated 02.20.2020


   54                       Wells Fargo Bank Withdrawl Slip re Acct x2064 $15,000
                                         Withdrawl, dated 02.21.2020


   55                       Wells Fargo Bank Withdrawl Slip re Acct x2064 $20,000
                                         Withdrawl, dated 02.27.2020


   56                       Wells Fargo Bank Withdrawl Slip re Acct x2064 $20,000
                                         Withdrawl, dated 03.03.2020




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Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                          Only

57-100                               INTENTIONALLY LEFT BLANK

  101
                                2016 Gross Income Summary for Michael Tew

  102
                                2017 Gross Income Summary for Michael Tew

  103
                                2018 Gross Income Summary for Michael Tew

  104
                                2019 Gross Income Summary for Michael Tew

  105
                              Internal Revenue Service 2019 Account Transcript

  106
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  107
                                2016 Gross Income Summary for Michael Tew

  108
                                2017 Gross Income Summary for Michael Tew

  109
                                2018 Gross Income Summary for Michael Tew

 110 -
  200                           2019 Gross Income Summary for Michael Tew


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  201

                             Guaranty Bank and Trust Statement re Account x7867
                                     Michael Tew, statement 08.31.2018
  202

                              Regions Bank Statement re Account x4514 Michael
                               Meyers, statement period 10.12.2018-11.08.2018
  203

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  204




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Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only

                              Regions Bank Statement re Account x4514 Michael
                               Meyers, statement period 11.09.2018-12.10.2018
  205

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  206

                            ANB Bank Statement re Account x3099 Michael Meyers,
                                            dated 12.18.2018
  207

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 01.17.2019-02.16.2019
  208

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 02.17.2019-03.16.2019
  209

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 03.17.2019-04.16.2019
  210

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  211

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 07.17.2019-08.16.2019
  212

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 08.31.2019
  213

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  214

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  216

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 09.30.2019
  217

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  219




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Exhibit   Witness                                                                      Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                           Only

                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 10.31.2019
  220

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  222

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  223

                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 11.30.2019
  224

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 11.17.2019-12.16.2019
  225

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  226

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 12.17.2019-01.16.2020
  227

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 01.17.2020-02.16.2020
  228

                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 02.29.2020
  229

                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 03.31.2020
  230

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 02.17.2020-03.16.2020
  231

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 03.17.2020-04.16.2020
  232

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  233

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  234




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Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                              Only

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  235

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 04.17.2020-05.16.2020
  236

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  237

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  238

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 05.17.2020-06.16.2020
  239
                            Navy Federal Credit Union Transaction Details re Access
                            x1390, Account x3094 Global Fuel Logistics, transaction
  240                                   period 07.20.2020-07.08.2020

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  241

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 05.17.2019-06.16.2019
  242

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  243

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  244

                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 08.31.2019
  245

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 08.17.2019-09.16.2019
  246

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Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                            Only

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 10.31.2019
  250

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  300

                             ANB Bank Signature Card re Account x3099 Michael
                                                 Meyers
  301

                              Guaranty Bank and Trust Signature Card re Account
                                            x7867 Michael Tew
  302

                              Navy Federal Credit Union Application re Kimberley
                                            Tew and Michael Tew
  303

                             Navy Federal Credit Union Application re Global Fuel
                                         Logistics, dated 06.08.2020
  304

                            Regions Bank Signature Cards re Account x0514 Michael
                                                   Meyers
  305

                            Wells Fargo Bank Signature Card re Account x6934 Sand
                                               Hill LLC, LLC
  306

                              Wells Fargo Bank Signature Card re Account x2064
                                            Global Fuel Logistics
  307

                             Signature Bank Signature Card re Accounts x5545 and
                                     x6150 National Air Cargo Group, Inc
  308

                              Signature Bank Signature Card re Accounts x5529,
                            x6363, x6355, and x6134 National Air Cargo Group, Inc
  309

                             Guaranty Bank and Trust Statement re Account x7867
                                       Michael Tew, dated 08.31.2018
  310

                            BBVA Compass Signature Card re Account x0987 5530
                                     Jessamine Development LLC
  311
                               Access National Bank Statement re Account x5965
                               Political Media Inc., statement period 12.01.2018-
  312                                              12.31.2018

                                   Simple Signature Card for Kimberley Tew
  313




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Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 07.17.2019-08.16.2019
  314

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 09.17.2019-10.16.2019
  315

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 10.17.2019-11.16.2019
  316

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 11.17.2019-12.16.2019
  317

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 12.17.2019-01.16.2020
  318

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 01.17.2020-02.16.2020
  319

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 02.17.2020-03.16.2020
  320

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 03.17.2020-04.16.2020
  321

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 04.17.2020-05.16.2020
  322

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 05.17.2020-06.16.2020
  323

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 01.08.2019-01.16.2019
  324

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 01.17.2019-02.16.2019
  325

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 02.17.2019-03.16.2019
  326

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 03.17.2019-04.16.2019
  327

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 04.17.2019-05.16.2019
  328




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Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 05.17.2019-06.16.2019
  329

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 06.17.2019-07.16.2019
  330

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 09.17.2019-10.16.2019
  331

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 10.17.2019-11.16.2019
  332

                             Navy Federal Credit Union Statement re Access x3844
                             Michael Tew, statement period 11.17.2019-12.16.2019
  333

                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 09.30.2019
  334
                              American Express Corporate Card Authorization re
                              Account x91009 National Air Cargo, Cardmember
  335                                          Michael Tew

                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 12.31.2019
  336

                             Wells Fargo Bank Statement re Account x2064 Global
                                       Fuel Logistics, dated 01.31.2020
  337
                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  338                                     closing date 06.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  339                                     closing date 07.16.2018

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 12.31.2019
  340
                              BBVA Compass Statement re Account x0987 5530
                               Jassamine Development LLC, statement period
  341                                     11.01.2018-11.30.2018

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 05.31.2019
  342

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 01.31.2020
  343




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Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                               Only

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 02.29.2020
  344

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 03.31.2020
  345
                            Navy Federal Credit Union Statement re Access x1390
                            Global Fuel Logistics Inc, statement period 06.08.2020-
  346                                             06.30.2020

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  347                                     closing date 08.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  348                                     closing date 09.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  349                                     closing date 10.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  350                                     closing date 11.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  351                                     closing date 12.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  352                                     closing date 01.16.2019

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  353                                     closing date 02.16.2019

                            Access National Bank Signature Card re Account x5965
                                               Political Media
  354

                             Signature Bank ACH Transaction re $25,000 to Global
                                        Fuel Logistics, dated 10.23.2019
  355

                            Signature Bank ACH Transaction re $21,250 to Political
                                         Media Inc., dated 12.10.2018
  356

                             Signature Bank ACH Transaction re $15,000 to 5530
                               Jessamine Development LLC, dated 08.22.2018
  357

                             Signature Bank ACH Transaction re $15,000 to 5530
                               Jessamine Development LLC, dated 08.23.2018
  358




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Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                              Signature Bank ACH Transaction re $15,000 to 5530
                                Jessamine Development LLC, dated 09.10.2018
  359

                              Signature Bank ACH Transaction re $15,000 to 5530
                                Jessamine Development LLC, dated 09.18.2018
  360

                              Signature Bank ACH Transaction re $15,000 to 5530
                                Jessamine Development LLC, dated 09.28.2018
  361

                            Signature Bank ACH Transaction re $30,000 to Michael
                                          Meyers, dated 12.03.2018
  362
                              Access National Bank Statement re Account x5965
                              Political Media Inc., statement period 03.01.2019-
  363                                             03.31.2019

                            ANB Bank Statement re Account x3099 Michael Meyers,
                                            dated 01.04.2019
  364

                            Signature Bank ACH Transaction re $21,000 to Political
                                         Media Inc., dated 01.23.2019
  365

                               Signature Bank ACH Transaction re $15,312.50 to
                                     Political Media Inc., dated 01.07.2019
  366

                            Signature Bank ACH Transaction re $23,350 to Political
                                         Media Inc., dated 01.10.2019
  367

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 01.07.2019-01.16.2019
  368

                            Signature Bank ACH Transaction re $28,000 to Political
                                         Media Inc., dated 01.18.2019
  369

                            Signature Bank ACH Transaction re $31,500 to Political
                                         Media Inc., dated 03.14.2019
  370

                            Signature Bank ACH Transaction re $37,800 to Political
                                         Media Inc., dated 03.04.2019
  371

                            Signature Bank ACH Transaction re $20,250 to Political
                                         Media Inc., dated 03.19.2019
  372
                               Signature Bank ACH Transactions re: $37,500 to
                               Political Media Inc., dated 04.08.2019; $18,750 to
                             Political Media Inc., dated 04.11.2019; and $18,750 to
  373                                 Political Media Inc., dated 04.15.2019




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Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                                Only

                            Signature Bank ACH Transaction re $18,750 to Political
                                         Media Inc., dated 04.17.2019
  374
                               Signature Bank ACH Transactions re: $18,750 to
                               Political Media Inc., dated 04.22.2019; $18,750 to
                               Political Media Inc., dated 04.24.2019; $38,640 to
  375                          Political Media, dated 04.29.2019; and $19,890 to
                                        Political Media, dated 05.07.2019
                               Signature Bank ACH Transactions re: $49,750 to
                               Political Media, dated 05.07.2019; and $40,000 to
  376                                 Political Media Inc., dated 05.10.2019
                               Signature Bank ACH Transactions re: $19,900 to
                             Political Media, dated 05.15.2019; $23,785 to Political
                              Media, dated 05.21.2019; $9,950 to Political Media,
                              dated 05.23.2019; $11,150 to Political Media, dated
  377                        05.28.2019; and $10,100 to Political Media Inc., dated
                                                   05.29.2019
                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 04.17.2019-05.16.2019
  378
                               Signature Bank ACH Transactions re: $53,500 to
                            Political Media, dated 06.03.2019; $28,000 to Political
                            Media, dated 06.10.2019; and $9,500 to Political Media,
  379                                          dated 06.13.2019
                               Signature Bank ACH Transactions re: $50,000 to
                              Political Media Inc., dated 06.20.2019; $15,000 to
                            Political Media, dated 06.25.2019; and $30,000 to Sand
  380                                     Hill LLC, dated 06.26.2019

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 06.17.2019-07.16.2019
  381

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 06.30.2019
  382
                            Signature Bank ACH Transactions re: $45,000 to Global
                             Fuel Logistics, dated 07.30.2019; $47,000 to SHI LLC,
                                dated 08.01.2019; and $30,000 to SHI LLC, dated
  383                                              08.05.2019
                              Signature Bank ACH Transactions re: $9,200 to Sand
                            Hill LLC, dated 06.28.2019; $13,000 to SHI LLC, dated
                            07.09.2019; $27,475 to SHI LLC, dated 07.11.2019; and
  384                                $10,000 to SHI LLC, dated 07.19.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
                                           LLC, dated 07.31.2019
  385

                             Signature Bank ACH Transaction re $12,900 to Global
                                        Fuel Logistics, dated 01.07.2020
  386
                            Signature Bank ACH Transactions re: $15,500 to Global
                            Fuel Logistics, dated 01.10.2020; $19,500 to Global Fuel
                               Logistics, dated 01.17.2020; $9,800 to Global Fuel
                              Logisitics, dated 01.22.2020; $13,500 to Global Fuel
                              Logistics, dated 01.23.2020; $36,500 to Global Fuel
  387                        Logistics, dated 01.27.2020; and $7,200 to Global Fuel
                                           Logistics, dated 01.30.2020




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Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                                Only

                             Signature Bank ACH Transaction re $13,000 to Global
                                        Fuel Logistics, dated 08.09.2019
  388

                             Signature Bank ACH Transaction re $24,700 to Global
                                        Fuel Logistics, dated 03.05.2020
  389
                            Signature Bank ACH Transactions re: $97,545 to Global
                            Fuel Logistics, dated 06.22.2020; $71,550 to Global Fuel
                            Logistics, dated 06.24.2020; and $105,000 to Global Fuel
  390                                      Logisitics, dated 06.29.2020

                             Signature Bank ACH Transaction re $83,526 to Global
                                        Fuel Logistics, dated 06.02.2020
  391
                            Signature Bank ACH Transactions re: $45,220 to Global
                            Fuel Logistics, dated 06.04.2020; $93,135 to Global Fuel
                            Logistics, dated 06.09.2020; and $93,635 to Global Fuel
  392                                      Logisitics, dated 06.17.2020
                            Navy Federal Credit Union Statement re Access x1390
                            Global Fuel Logistics Inc, statement period 06.08.2010-
  393                                             06.30.2020

                            Navy Federal Credit Union Check re Acct x3494 $500.00
                                      to Sand Hill LLC, dated 10.15.19
  394

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  04.14.2020
  395

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  04.03.2020
  396

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  02.04.2020
  397

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  01.13.2020
  398

                              Navy Federal Credit Union Surveillance Photo, dated
                                        06.11.2020 08:14:04.950 PM
  399

                              Navy Federal Credit Union Surveillance Photo, dated
                                        06.11.2020 07:53:41.888 PM
  400

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  06.26.2020
  401

                              Navy Federal Credit Union Surveillance Photo, dated
                                                  06.08.2020
  402




                                                                                       15
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Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only

                             Navy Federal Credit Union Surveillance Photo, dated
                                       03.20.2020 02:19:42.572 PM
  403

                             Navy Federal Credit Union Surveillance Photo, dated
                                       03.20.2020 09:23:58.357 PM
  404

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 03.06.2020
  405

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 05.12.2020
  406

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 05.04.2020
  407

                             Navy Federal Credit Union Surveillance Photo, dated
                                       04.01.2020 04:02:07.321 PM
  408

                             Navy Federal Credit Union Surveillance Photo, dated
                                       04.01.2020 04:05:40.320 PM
  409

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 02.12.2020
  410

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 02.25.2020
  411

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 01.23.2020
  412

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 01.29.2020
  413

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 06.11.2019
  414

                             Navy Federal Credit Union Surveillance Photo, dated
                                       06.11.2020 07:59:59.914 PM
  415

                             Navy Federal Credit Union Surveillance Photo, dated
                                       06.11.2020 07:53:41.888 PM
  416

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 06.30.2020
  417




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Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 06.25.2020
  418

                             Navy Federal Credit Union Surveillance Photo, dated
                                       06.09.2020 05:16:56.734 PM
  419

                             Navy Federal Credit Union Surveillance Photo, dated
                                       06.09.2020 05:17:57.737 PM
  420

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 03.11.2020
  421

                             Navy Federal Credit Union Surveillance Photo, dated
                                       03.18.2020 11:58:06.124 AM
  422

                             Navy Federal Credit Union Surveillance Photo, dated
                                       03.18.2020 05:08:46.082 PM
  423

                             Navy Federal Credit Union Surveillance Photo, dated
                                       05.12.2020 12:12:35.352 PM
  424

                             Navy Federal Credit Union Surveillance Photo, dated
                                       05.12.2020 06:36:34.932 PM
  425

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 03.27.2020
  426

                             Navy Federal Credit Union Surveillance Photo, dated
                                                 06.11.2019
  427

                             Signature Bank ACH Transaction re: $13,000 to Sand
                                         Hill LLC, dated 08.09.2019
  428

                             Signature Bank ACH Transaction re: $35,000 to Sand
                                         Hill LLC, dated 08.14.2019
  429

                            Signature Bank ACH Transaction re: $15,000 to Global
                                       Fuel Logistics, dated 08.15.2019
  430

                             Signature Bank ACH Transaction re: $27,000 to Sand
                                         Hill LLC, dated 08.22.2019
  431

                             Signature Bank ACH Transaction re: $45,000 to Sand
                                         Hill LLC, dated 08.26.2019
  432




                                                                                   17
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Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

                            Signature Bank Wire Transaction re: $45,000 to Global
                                       Fuel Logistics, dated 08.29.2019
  433

                            Signature Bank ACH Transaction re: $13,000 to Global
                                       Fuel Logistics, dated 02.03.2020
  434

                            Signature Bank ACH Transaction re: $23,200 to Global
                                       Fuel Logistics, dated 02.06.2020
  435

                            Signature Bank ACH Transaction re: $32,500 to Global
                                       Fuel Logistics, dated 02.13.2020
  436

                            Signature Bank ACH Transaction re: $55,000 to Global
                                       Fuel Logistics, dated 02.18.2020
  437

                            Signature Bank ACH Transaction re: $40,000 to Global
                                       Fuel Logistics, dated 02.26.2020
  438

                            Signature Bank ACH Transaction re: $74,955 to Global
                                       Fuel Logistics, dated 03.11.2020
  439

                            Signature Bank ACH Transaction re: $17,200 to Global
                                       Fuel Logistics, dated 03.17.2020
  440

                            Signature Bank ACH Transaction re: $32,245 to Global
                                       Fuel Logistics, dated 03.24.2020
  441

                            Signature Bank ACH Transaction re: $32,300 to Global
                                       Fuel Logistics, dated 03.26.2020
  442

                            Signature Bank ACH Transaction re: $41,225 to Global
                                       Fuel Logistics, dated 04.02.2020
  443

                            Signature Bank ACH Transaction re: $37,353 to Global
                                       Fuel Logistics, dated 04.08.2020
  444

                            Signature Bank ACH Transaction re: $31,355 to Global
                                       Fuel Logistics, dated 04.13.2020
  445

                            Signature Bank ACH Transaction re: $56,530 to Global
                                       Fuel Logistics, dated 04.21.2020
  446

                            Signature Bank ACH Transaction re: $36,240 to Global
                                       Fuel Logistics, dated 04.29.2020
  447




                                                                                    18
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Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                              Only

                            Signature Bank ACH Transaction re: $77,460 to Global
                                       Fuel Logistics, dated 05.18.2020
  448

                            Signature Bank ACH Transaction re: $85,500 to Global
                                       Fuel Logistics, dated 05.27.2020
  449

                               Signature Bank ACH Transaction re $20,250.00 to
                                     Political Media Inc., dated 03.18.2019
  450

                             Signature Bank ACH Transaction re $60,000 to Global
                                        Fuel Logistics, dated 09.10.2019
  451

                            Signature Bank ACH Transaction re $51,500 to Sand Hill
                                            LLC, dated 09.12.2019
  452

                             Signature Bank ACH Transaction re $11,950 to Global
                                        Fuel Logistics, dated 09.16.2019
  453

                            Signature Bank ACH Transaction re $41,500 to Sand Hill
                                            LLC, dated 09.19.2019
  454

                            Signature Bank ACH Transaction re $60,000 to Sand Hill
                                            LLC, dated 09.26.2019
  455

                            Signature Bank ACH Transaction re $75,000 to Sand Hill
                                            LLC, dated 09.30.2019
  456

                            Signature Bank ACH Transaction re $35,000 to Sand Hill
                                            LLC, dated 10.10.2019
  457

                             Signature Bank ACH Transaction re $23,750 to Global
                                        Fuel Logistics, dated 10.30.2019
  458

                            Signature Bank ACH Transaction re $25,000 to Sand Hill
                                            LLC, dated 11.18.2019
  459

                             Signature Bank ACH Transaction re $17,900 to Global
                                        Fuel Logistics, dated 11.21.2019
  460

                             Signature Bank ACH Transaction re $42,000 to Global
                                        Fuel Logistics, dated 11.27.2019
  461

                             Signature Bank ACH Transaction re $26,500 to Global
                                        Fuel Logistics, dated 12.05.2019
  462




                                                                                     19
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Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only

                             Signature Bank ACH Transaction re $51,150 to Global
                                        Fuel Logistics, dated 12.09.2019
  463

                             Signature Bank ACH Transaction re $7,800 to Global
                                       Fuel Logistics, dated 12.16.2019
  464

                             Signature Bank ACH Transaction re $33,300 to Global
                                        Fuel Logistics, dated 12.17.2019
  465

                             Signature Bank ACH Transaction re $14,350 to Global
                                        Fuel Logistics, dated 12.19.2019
  466

                             Signature Bank ACH Transaction re $55,500 to Global
                                        Fuel Logistics, dated 12.26.2019
  467

                             Signature Bank ACH Transaction re $77,500 to Global
                                        Fuel Logistics, dated 12.30.2019
  468

                              Wells Fargo Bank Wire Transaction Report re Acct
                                     x6934 $20,611.01, dated 11.01.2019
  469

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  470

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  471

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  472

                                American Express Application re Michael Tew
  473

                               American Express Application re Kimberley Tew
  474

                             ANB Bank Signature Card re Account x3099 Michael
                                                 Meyers
  475

                              Guaranty Bank and Trust Signature Card re Account
                                            x7867 Michael Tew
  476

                             Navy Federal Credit Union Application re Kimberley
                                           Tew and Michael Tew
  477




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Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                             Only

                             Navy Federal Credit Union Application re Global Fuel
                                         Logistics, dated 06.08.2020
  478

                            Regions Bank Signature Cards re Account x0514 Michael
                                                   Meyers
  479

                            Wells Fargo Bank Signature Card re Account x6934 Sand
                                               Hill LLC, LLC
  480

                              Wells Fargo Bank Signature Card re Account x2064
                                            Global Fuel Logistics
  481

                             Signature Bank Signature Card re Accounts x5545 and
                                     x6150 National Air Cargo Group, Inc
  482

                              Signature Bank Signature Card re Accounts x5529,
                            x6363, x6355, and x6134 National Air Cargo Group, Inc
  483

                             Guaranty Bank and Trust Statement re Account x7867
                                       Michael Tew, dated 08.31.2018
  484

                            BBVA Compass Signature Card re Account x0987 5530
                                     Jessamine Development LLC
  485
                               Access National Bank Statement re Account x5965
                               Political Media Inc., statement period 12.01.2018-
  486                                              12.31.2018

                                   Simple Signature Card for Kimberley Tew
  487

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 07.17.2019-08.16.2019
  488

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 09.17.2019-10.16.2019
  489

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 10.17.2019-11.16.2019
  490

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 11.17.2019-12.16.2019
  491

                             Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 12.17.2019-01.16.2020
  492




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Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

 493 -                       Navy Federal Credit Union Statement re Access x3843
                            Kimberley Tew, statement period 01.17.2020-02.16.2020
  499

                             Kraken Account Opening and Verification Documents
                                            for Kimberley Tew
  500

                             Kraken Account Opening and Verification Documents
                                             for Michael Tew
  501

                                Coinbase profile image records for Michael Tew
  502

                               Coinbase profile image records for Kimberley Tew
  503

                                Google Pay Customer Profile re kley@me.com
  504

                             McDonald Audi Purchase Documents re 2016 Audi A4
                                       VIN x2447, dated 10.03.2019
  505

                             McDonald Audi Wire Transfer Records re $20,611.01
                                Incoming Money Transfer, dated 11.01.2019
  506

                            Wynn Las Vegas Jackpot Report between 07.04.2019 and
                                                11.29.2019
  507

                            Wynn Las Vegas 2019 Loss Summary, as of 07.16.2020
  508
                            Wynn Las Vegas Reservation Confirmation #23362412
                             for Kimberley Tew, 10.30.2019 arrival & 11.02.19
  509                                           departure

                            Wynn Las Vegas Reservation/Stay History for Kimberley
                                                   Tew
  510

                            Wynn Las Vegas Reservation/Stay History re: Kimberley
                             Ann Tew, arrival 09.01.2019 & departure 09.05.2019
  511

                            GoDaddy Domain Information re Domain Name "Global
                                                Fuel.Co"
  512

                                GoDaddy Domain Information re Domain Name
                                           "Sandhillrp.com"
  513




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Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                            AT&T Subscriber Information re phone number x1312,
                                               Michael Tew
  514

                            AT&T Subscriber Information re phone number x7473,
                                               Michael Tew
  515

                            AT&T Subscriber Information re phone number x2046,
                                          Kimberley Vertanen
  516

                            AT&T Text Message History re phone numbers x2046 &
                                                 x1312
  517

                                    AT&T Records re phone number x1312
  518

                             Spreadsheet of Verizon Call Records re phone number
                                                    x1709
  519

                              Google Subscriber Information re 5530 Jessamine
                             Development Email Recovery (chrisrncn@gmail.com)
  520

                            Google Subscriber Information re Political Media email
                                 recovery (political.media.wdc@gmail.com)
  521

                             Google Voice Record re Google Voice Number x0152
  522

                            Google Subscriber Information re vtleycap@gmail.com
                                      (recovery email kley@me.com)
  523

                                      Google subscriber information re
                                    meyersconsultinggroupinc@gmail.com
  524

                              IRS Form W-9 re Michael Meyers, dated 10.11.2018
  525

                            Colorado Secretary of State Statement of Foreign Entity
                                Authority re: Sand Hill LLC, filed 11.12.2018
  526

                            Plea agreement as to Jonathan Yioulos, dated 11.18.2021
  527

                                 Audio of 7/15/2020 Proffer with Michael Tew
  528




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Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                                 Audio of 7/28/2020 Proffer with Michael Tew
  529

                               Audio of 10/23/2020 Proffer with Kimberley Tew
  530

                             07.07.2020 Photograph of Yioulos Phone Contact ‘JB’
  531

                                     Email re "RE: AMEX" on 07.16.2018
  532

                               Email re "FW: Scanned Document" on 07.31.2018
  533

                               Email re "RE: Wire - Michael Tew" on 08.02.2018
  534

                                  Email re "FW: MT AGMT" on 09.14.2018
  535

                                  Email re "FW: National Air Cargo Holdings
                                       Correspondence" on 09.17.2018
  536

                              Invoice #79487 re: Meyers Consulting Group Inc for
                                         $10,000.00, dated 10.30.2018
  537

                             Email re "RE: Michael Tew - AMEX" on 01.17.2019
  538
                            Email re "Invoices for June 2020" on 06.30.2020 (Global
                             Fuel Logistics Invoice #10222 for $17,955.50; & Aero
  539                         Maintenance Resources Invoice #9611 for $79,292)

                              Invoice #79466 re: Meyers Consulting Group Inc for
                                         $30,000.00, dated 10.12.2018
  540

                              Invoice #79488 re: Meyers Consulting Group Inc for
                                         $30,000.00, dated 11.30.2018
  541

                              Invoice #79489 re: Meyers Consulting Group Inc for
                                         $30,000.00, dated 11.30.2018
  542

                              Invoice #79490 re: Meyers Consulting Group Inc for
                                         $25,000.00, dated 12.11.2018
  543




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Exhibit   Witness                                                                             Stipulation   Offered   Admitted   Refused        Court Use
                                                Brief Description
                                                                                                                                                  Only

                            Colorado Secretary of State Statement of Foreign Entity
                            Authority re: Global Fuel Logistics Inc., filed 07.11.2019
  544

                            IRS assignment of Employment Identification Number re
                                    Global Fuel Logistics, dated 07.09.2019
  545

                            Wyoming Secretary of State Articles of Incorporation re
                                Global Fuel Logistics Inc, filed 07.09.2019
  546

                            IRS Form SS-4 Application for Employer Identification
                                         Number re Sand Hill LLC
  547
                            State of New York Department of State Certification of
                            Articles of Organization and Other Filings for Sand Hill
  548                                       LLC, dated 11.09.2018

                              Google Pay Customer Profile re kleytew@gmail.com
  549

                            IRS Form 1099 re SandHill Research Partners, tax years
                                             2015 through 2018
  550

                             Audio of 07.29.2020 meeting with Michael Tew at Yeti
                                                    store
  551

                                   Email re "RE: MT AGMT" on 09.14.2018
  552

                            Email headers re email received by chrisrncn@gmail.com
                                                on 08.22.2018
  553

                                  Spreadsheet of Apple account information re
                                                 kley@me.com
  554

                             Photograph re Search Warrant Executed on 07.31.2020
                                                     #1
  555

                             Photograph re Search Warrant Executed on 07.31.2020
                                                     #2
  556

                             Photograph re Search Warrant Executed on 07.31.2020
                                                     #3
  557

                             Photograph re Search Warrant Executed on 07.31.2020
                                                     #4
  558




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Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only

                             Photograph re Search Warrant Executed on 07.31.2020
                                                     #5
  559

                             Photograph re Search Warrant Executed on 07.31.2020
                                                     #6
  560

                             Photograph re Search Warrant Executed on 07.31.2020
                                                     #7
  561

                                           Wells Fargo Bank Bag
  562

                              2TB Seagate HDD Model ST20000DM001-1CH164
                                         Serial Number W241LEZM
  563

                                    Photograph re Cellebrite Processing #1
  564

                                    Photograph re Cellebrite Processing #2
  565

                                    Photograph re Cellebrite Processing #3
  566

                                    Photograph re Cellebrite Processing #4
  567

                                                  Wipe Log
  568

                                         Hash List for Apple Return
  569

                                  Kraken Ledger - AA70N84GI5WBRUCHI
  570

 571 -                               INTENTIONALLY LEFT BLANK
  599

                             Kraken Account Opening and Verification Documents
                                            for Kimberley Tew
  600

                             Email re "ACH Invoice" on 08.07.2018 (Hanna Scaife
                                    Invoice dated 08.07.2018 for $15,000)
  601




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Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                                Only

                               Text messages between M.T. and J.Y. 08.07.2018
  602

                            Email re "re ACH Invoice" on 08.08.2018 (Hanna Scaife
                                     Invoice dated 08.08.2018 for $15,000)
  603

                               Text messages between M.T. and J.Y. 08.08.2018
  604

                               Text messages between M.T. and J.Y. 08.09.2018
  605

                               Text messages between M.T. and J.Y. 08.13.2018
  606
                             Email re "Invoices: Michael Tew ACH August 15" on
                            08.14.2018 (Sand Hill Invoice #49 for $10,000 & Hanna
  607                            Scaife Invoice dated 08.14.2018 for $20,000)

                              Text message between J.Y. and M.T on 08.10.2018
  608

                              Text message between J.Y. and M.T on 08.18.2018
  609

                              Text message between J.Y. and M.T on 08.21.2018
  610

                            Email re "Invoice (CORRECTED)" on 08.22.2018 (5530
                            Jessamine Development Invoice #7321116 for $15,000)
  611

                                 Email re "Wire Confirmation" on 08.22.2018
  612

                              Text messages between J.Y. and M.T on 08.22.2018
  613

                              Text messages between J.Y. and M.T on 08.23.2018
  614

                             Email re "re Invoice (CORRECTED)" on 08.23.2018
  615

                              Emails re "re Is there an invoice for this wire out of
                                           Holdings?" on 08.24.2018
  616




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Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only

                              Text messages between M.T. and JY. on 08.28.2018
  617

                                     Email re "Confirms" on 08.30.2018
  618

                              Text messages between J.Y. and K.T. on 08.30.2018
  619

                             Text messages between J.Y. and M.T. on 08.30.2018
  620

                             Text messages between M.T. and J.Y. on 08.31.2018
  621

                             Text messages between M.T. and J.Y. on 09.01.2018
  622

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  623

                              Emails re "RE: Is there an invoice?" on 09.07.2018
  624

                             Text messages between M.T. and J.Y. on 09.07.2018
  625

                               Email re "FW: ACH INVOICE" on 09.07.2018 at
                                                03:13pm
  626

                               Email re "FW: ACH INVOICE" on 09.07.2018 at
                                                03:14pm
  627

                                Text messages from J.Y. to K.T. on 09.10.2018
  628
                             Email (NO SUBJECT) on 09.10.2018 (5530 Jessamine
                             Development Invoice #7321118 for $15,000 & Invoice
  629                                      #7321117 for $15,000)

                                Emails re "RE: Scaife Invoices" on 09.10.2018
  630

                                Emails re "RE:" (NO SUBJECT) on 09.10.2018
  631




                                                                                   28
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Exhibit   Witness                                                                      Stipulation   Offered   Admitted   Refused        Court Use
                                             Brief Description
                                                                                                                                           Only

                                   Email re "Cancel ACH" on 09.10.2018
  632

                             Text messages between M.T. and J.Y. on 09.12.2018
  633

                               Text messages from J.Y. to K.T. on 09.12.2018
  634

                               Text messages from J.Y. to K.T. on 09.13.2018
  635

                             Text messages between M.T. and J.Y. on 09.13.2018
  636

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  637

                              Email re "Invoice" on 09.18.2018 (5530 Jessamine
                                Development Invoice #7321119 for $15,000)
  638

                               Text messages from J.Y. to K.T. on 09.18.2018
  639

                               Text messages from J.Y. to K.T. on 09.28.2018
  640

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  641

                              Email re "Consulting Invoice" on 09.28.2018 (5530
                            Jessamine Development Invoice #7321120 for $15,000)
  642

                                Email re "RE: Invoices needed - Holdings" on
                                                 09.28.2018
  643

                                       Email re "Jess" on 10.01.2018
  644

                                Text message from J.Y. to M.T. on 10.09.2018
  645

                               Text messages from J.Y. to K.T. on 10.25.2018
  646




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Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                                    Email re "Fwd: Invoice" on 10.25.2018
  647

                              Text messages between J.Y. to M.T. on 10.25.2018
  648

                                     Email re "Oct Invoice" on 10.30.2018
  649

                              Text messages between J.Y. to M.T. on 10.30.2018
  650

                                Text messages from J.Y. to K.T. on 10.30.2018
  651

                              Text messages between J.Y. to M.T. on 10.31.2018
  652

                              Email re "is there an invoice for this payment out of
                                            holdings?" on 10.31.2018
  653

                               Email re "RE: Michael Tew: Sand Hill, LLC" on
                                           11.05.2018 at 2:13pm
  654

                               Email re "RE: Michael Tew: Sand Hill, LLC" on
                                          11.05.2018, time unknown
  655

                            Text mess+C405ages sent from Kley (M.T.) to M.M. on
                                                11.06.2018
  656

                            Email re "Meyers Consulting Group LLC" on 11.06.2018
  657

                                     Email re "RE: Invoice" on 11.09.2018
  658

                              Text messages between J.Y. to M.T. on 11.09.2018
  659

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  660

                             Email re "RE: Entity: Sand Hill, LLC - New York" on
                                                  11.12.2018
  661




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Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                             Brief Description
                                                                                                                                            Only

                             Text messages between J.Y. and M.T. on 11.13.2018
  662

                             Text messages between J.Y. and M.T. on 11.15.2018
  663

                             Text messages between J.Y. and M.T. on 11.16.2018
  664

                             Text messages between J.Y. and M.T. on 11.19.2018
  665

                               Email re "RE: Invoice" on 11.19.2018 at 8:55pm
  666

                               Email re "RE: Invoice" on 11.19.2018 at 9:04pm
  667

                             Text messages between J.Y. and M.T. on 11.20.2018
  668

                              Text messages between Kley (M.T.) and M.M. on
                                                11.20.2018
  669

                             Text messages between J.Y. and M.T. on 11.21.2018
  670

                             Text messages between J.Y. and M.T. on 11.23.2018
  671

                             Text messages between J.Y. and M.T. on 11.25.2018
  672

                             Text messages between J.Y. and M.T. on 11.26.2018
  673

                            Email re "RE: Invoice" on 11.26.2018 at 7:22pm (5530
                            Jessamine Development Invoice #7321122 for $30,000)
  674

                               Email re "RE: Invoice" on 11.26.2018 at 4:22pm
  675

                             Text messages between J.Y. and M.T. on 11.27.2018
  676




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Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                Brief Description
                                                                                                                                               Only

                             Email re "RE: Cash Sheet - Holdings - what's this?" on
                                                 11.28.2018
  677

                                 Text message from J.Y. to M.T. on 11.30.2018
  678

                                Text messages from J.Y. to K.T. on 12.01.2018
  679

                              Email re "RE: Final Invoice" on 12.03.2018 (Meyers
                                Consulting Group Invoice #79489 for $30,000)
  680

                              Text messages between J.Y. and M.T. on 12.04.2018
  681

                                Text messages from J.Y. to K.T. on 12.04.2018
  682
                              Email re "Missing Meyers invoices" on 12.04.2018
                            (Meyers Consulting Group Invoice #79489 for $30,000 &
  683                                    Invoice #79488 for $30,000)

                              Text messages between J.Y. and M.T. on 12.06.2018
  684

                                Text messages from J.Y. to K.T. on 12.06.2018
  685
                               Email re "Fwd: Political Media, Inc. - Invoice for
                            Services" on 12.07.2018 (Political Media Invoice #6516
  686                                            for $21,250)

                              Text messages between J.Y. and M.T. on 12.07.2018
  687

                                Email re: "RE: Political Media, Inc. - Invoice for
                                            Services" on 12.07.2018
  688

                              Text messages between J.Y. and M.T. on 12.06.2018
  689

                              Text messages between J.Y. and M.T. on 12.10.2018
  690

                            Email re "New Vendor - Paid on Friday" on 12.10.2018
  691




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Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                              Only

                             Email re "Re: Final Invoice" on 12.11.2018 (Meyers
                               Consulting Group Invoice #79490 for $25,000)
  692

                             Text messages between J.Y. and M.T. on 12.11.2018
  693

                                    Email re "Meyers Inv" on 12.14.2018
  694

                             Text messages between J.Y. and M.T. on 12.18.2018
  695

                              Text messages between Kley (M.T.) and M.M. on
                                                12.18.2018
  696

                             Text messages between J.Y. and M.T. on 12.19.2018
  697

                             Text messages between J.Y. and M.T. on 12.20.2018
  698

                              Email re "FW: INVOICES: MICHAEL TEW ACH
                                         AUGUST 15" on 12.20.2018
  699
                               Email re "FW: Political Media, Inc. - Invoice for
                            Services" on 12.20.2018 (Political Media Invoice #6517
  700                                            for $15,125)

                             Text messages between J.Y. and M.T. on 12.21.2018
  701

                             Text messages between J.Y. and M.T. on 01.07.2019
  702
                               Email re "Invoice from Political Media, Inc." on
                                01.07.2019 (Political Media Invoice #6540 for
  703                                            $15,312.50)

                             Text messages between J.Y. and M.T. on 01.09.2019
  704

                             Text messages between J.Y. and M.T. on 01.10.2019
  705

                                Email re "Invoice from Political Media, Inc." on
                            01.10.2019 (Political Media Invoice #6670 for $25,350)
  706




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Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                              Text messages between J.Y. and M.T. on 01.17.2019
  707

                                Text messages from J.Y. to K.T. on 01.17.2019
  708

                              Email re "FW: Invoice from Political Media, Inc." on
                                                  01.17.2019
  709

                              Text messages between J.Y. and M.T. on 01.18.2019
  710
                                Email re "Invoice from Political Media, Inc." on
                                 01.18.2019 (Political Media Invoice #6712 for
  711                                             $27,562.50)

                              Text messages between J.Y. and M.T. on 01.23.2019
  712
                                Email re "Invoice from Political Media, Inc." on
                            01.23.2019 (Political Media Invoice #6714 for $21,000 &
  713                                     Invoice #6712 for $28,000)

                              Email re "FW: Invoice from Political Media, Inc." on
                                                  01.25.2019
  714

                                Text messages from J.Y. to K.T. on 02.07.2019
  715

                                Email re "Invoice from Political Media, Inc." on
                            02.07.2019 (Political Media Invoice #6775 for $15,250)
  716

                              Text messages between J.Y. and M.T. on 02.19.2019
  717

                                Text messages from J.Y. to K.T. on 02.19.2019
  718

                                Email re "Invoice from Political Media, Inc." on
                            02.19.2019 (Political Media Invoice #6786 for $15,250)
  719

                              Email re "FW: Invoice from Political Media, Inc." on
                                                  02.21.2019
  720

                              Text messages between J.Y. and M.T. on 02.24.2019
  721




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Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                              Only

                             Text messages between J.Y. and M.T. on 03.01.2019
  722

                                Email re "Invoice from Political Media, Inc." on
                            03.04.2019 (Political Media Invoice #6804 for $37,800)
  723

                               Text messages between Kley (M.T.) and K.T. on
                                                03.06.2019
  724

                             Email re "FW: Invoice from Political Media, Inc." on
                                                 03.07.2019
  725

                               Text messages between Kley (M.T.) and K.T. on
                                                03.14.2019
  726

                                Email re "Invoice from Political Media, Inc." on
                            03.14.2019 (Political Media Invoice #6881 for $31,500)
  727

                             Email re "FW: Invoice from Political Media, Inc." on
                                                 03.15.2019
  728

                               Text messages between Kley (M.T.) and K.T. on
                                                03.17.2019
  729

                               Text messages between Kley (M.T.) and K.T. on
                                                03.18.2019
  730

                             Text messages between J.Y. and M.T. on 03.18.2019
  731

                                Email re "Invoice from Political Media, Inc." on
                            03.18.2019 (Political Media Invoice #6910 for $20,250)
  732

                             Email re "FW: Invoice from Political Media, Inc." on
                                                 03.19.2019
  733

                             Text messages between J.Y. and M.T. on 03.19.2019
  734

                               Text messages between Kley (M.T.) and K.T. on
                                                03.19.2019
  735

                             Text messages between M.T. and K.T. on 03.28.2019
  736




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Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                              Only

                                Email re "Invoice from Political Media, Inc." on
                            03.28.2019 (Political Media Invoice #6976 for $38,000)
  737

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  738

                               Text messages between Kley (M.T.) and K.T. on
                                                03.30.2019
  739

                               Text messages between Kley (M.T.) and K.T. on
                                                04.03.2019
  740

                             Text messages between J.Y. and M.T. on 04.03.2019
  741

                                Email re "Invoice from Political Media, Inc." on
                            04.03.2019 (Political Media Invoice #6910 for $30,150)
  742

                             Email re "FW: Invoice from Political Media, Inc." on
                            04.04.2019 (Political Media Invoice #7004 for 11,250)
  743

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  744

                             Text messages between J.Y. and M.T. on 04.07.2019
  745

                               Text messages between Kley (M.T.) and K.T. on
                                                04.07.2019
  746

                             Text messages between J.Y. and M.T. on 04.08.2019
  747

                                Email re "Invoice from Political Media, Inc." on
                            04.08.2019 (Political Media Invoice #7101 for $37,500)
  748

                              Email re "re Invoice from Political Media, Inc." on
                                                  04.09.2019
  749

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  750

                             Text messages between M.T. and K.T. on 04.11.2019
  751




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Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

                            Text messages from Kley (M.T.) to M.M. on 04.12.2019
  752

                             Text messages between M.T. and K.T. on 04.12.2019
  753

                             Text messages between J.Y. and M.T. on 04.13.2019
  754

                             Text messages between M.T. and K.T. on 04.16.2019
  755

                             Text messages between M.T. and K.T. on 04.17.2019
  756

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  757

                               Text messages between M.T. and Kley (K.T.) on
                                                04.21.2019
  758

                             Text messages between M.T. and K.T. on 04.22.2019
  759

                               Text messages between Kley (M.T.) and K.T. on
                                                04.23.2019
  760

                                Text message from J.Y. to M.T. on 04.24.2019
  761

                             Text messages between M.T. and K.T. on 04.24.2019
  762

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  763
                                Email re "Invoice from Political Media, Inc." on
                            04.29.2019 (Political Media Invoice #7156 for $75,000
  764                                   and Invoice #7158 for $39,780)

                             Email re "FW: Invoice from Political Media. Inc." on
                                                04.29.2019
  765

                               Text messages between Kley (M.T.) and K.T. on
                                                04.30.2019
  766




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Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                             Brief Description
                                                                                                                                          Only

                             Text messages between M.T. and K.T. on 05.01.2019
  767

                             Text messages between M.T. and K.T. on 05.02.2019
  768

                             Text messages between M.T. and K.T. on 05.06.2019
  769

                             Text messages between J.Y. and M.T. on 05.07.2019
  770

                             Text messages between M.T. and K.T. on 05.08.2019
  771

                               Text messages between Kley (M.T.) and K.T. on
                                                05.09.2019
  772

                               Text messages between Kley (M.T.) and K.T. on
                                                05.10.2019
  773

                             Text messages between J.Y. and M.T. on 05.10.2019
  774

                             Text messages between J.Y. and M.T. on 05.15.2019
  775

                             Text messages between M.T. and K.T. on 05.20.2019
  776

                               Text messages between M.T. and Kley (K.T.) on
                                                05.21.2019
  777

                               Text messages between M.T. and Kley (K.T.) on
                                                05.22.2019
  778

                             Text messages between M.T. and K.T. on 05.27.2019
  779

                             Text messages between M.T. and K.T. on 05.28.2019
  780

                             Text messages between J.Y. and M.T. on 06.03.2019
  781




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Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

                                Text messages between Kley (M.T.) and K.T. on
                                                 06.03.2019
  782

                                Email re "Journal Entry Testing" on 06.04.2019
  783

                             Text messages between M.T. and K.T. on 06.07.2019
  784

                             Text messages between M.T. and K.T. on 06.10.2019
  785

                              Text messages between J.Y. and M.T. on 06.12.2019
  786

                                Text messages between Kley (M.T.) and K.T. on
                                                 06.12.2019
  787

                              Text messages between J.Y. and M.T. on 06.13.2019
  788

                             Text messages between M.T. and K.T. on 06.13.2019
  789

                             Text messages between M.T. and K.T. on 06.18.2019
  790

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  791

                             Text messages between M.T. and K.T. on 06.24.2019
  792

                             Text messages between M.T. and K.T. on 06.25.2019
  793

                            Text messages between M.T. and K.T. on 06.26.2019 and
                                                 06.27.2019
  794

                              Text messages between J.Y. and M.T. on 06.26.2019
  795

                              Text messages between J.Y. and M.T. on 06.28.2019
  796




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Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                              Only

                             Text messages between M.T. and K.T. on 06.28.2019
  797

                             Text messages between M.T. and K.T. on 06.29.2019
  798

                                  Email re "RE: Please assist" on 07.11.2019
  799

                             Text messages between M.T. and K.T. on 07.02.2019
  800
                               Emails re "Invoice From Political Media, Inc." on
                            07.03.2019 (Political Media Invoice #7201 for $40,000;
                            Invoice #7263 for $10,100; Invoice #7312 for $9,500; &
  801                                     Invoice #7322 for $30,000)

                             Text messages between M.T. and K.T. on 07.04.2019
  802

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  803

                             Text messages between M.T. and K.T. on 07.07.2019
  804

                             Text messages between M.T. and K.T. on 07.07.2019
  805

                             Text messages between J.Y. and M.T. on 07.08.2019
  806

                                  Emails re "Re: Please assist" on 07.08.2019
  807

                                  Emails re "Re: Please assist" on 07.09.2019
  808

                             Text messages between M.T. and K.T. on 07.09.2019
  809

                             Text messages between M.T. and K.T. on 07.11.2019
  810

                             Text messages between M.T. and K.T. on 07.17.2019
  811




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Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                             Brief Description
                                                                                                                                          Only

                             Text messages between M.T. and K.T. on 07.18.2019
  812

                             Text messages between J.Y. and M.T. on 07.19.2019
  813

                             Text messages between J.Y. and M.T. on 07.22.2019
  814

                             Text messages between M.T. and K.T. on 07.29.2019
  815

                             Text messages between J.Y. and M.T. on 07.30.2019
  816

                             Text messages between J.Y. and M.T. on 08.01.2019
  817

                             Text messages between J.Y. and M.T. on 08.03.2019
  818

                             Text messages between M.T. and K.T. on 08.04.2019
  819

                             Text messages between J.Y. and M.T. on 08.05.2019
  820

                             Text messages between M.T. and K.T. on 08.05.2019
  821

                             Text messages between M.T. and K.T. on 08.06.2019
  822

                             Text messages between J.Y. and M.T. on 08.06.2019
  823

                             Text messages between M.T. and K.T. on 08.11.2019
  824

                             Text messages between M.T. and K.T. on 08.13.2019
  825

                             Text messages between J.Y. and M.T. on 08.13.2019
  826




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Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                             Text messages between J.Y. and M.T. on 08.14.2019
  827

                             Text messages between J.Y. and M.T. on 08.15.2019
  828

                             Text messages between M.T. and K.T. on 08.18.2019
  829

                             Text messages between J.Y. and M.T. on 08.19.2019
  830

                             Text messages between J.Y. and M.T. on 08.20.2019
  831

                             Text messages between J.Y. and M.T. on 08.21.2019
  832

                             Text messages between J.Y. and M.T. on 08.22.2019
  833

                             Text messages between M.T. and K.T. on 08.22.2019
  834

                             Text messages between M.T. and K.T. on 08.23.2019
  835

                             Text messages between M.T. and K.T. on 08.25.2019
  836

                             Text messages between J.Y. and M.T. on 08.26.2019
  837

                             Text messages between M.T. and K.T. on 08.26.2019
  838

                             Text messages between M.T. and K.T. on 08.27.2019
  839

                             Text messages between M.T. and K.T. on 08.28.2019
  840
                             Email re "Invoices from Global Fuel Logistics, Inc" on
                              08.28.2019 (Global Fuel Logistics Invoice #987 for
                             #9,500; Invoice #972 for $94,500; & Invoice #763 for
  841                                              $152,000)




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Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                              Text messages between M.T. and K.T. on 08.29.2019
  842

                                   Emails re "RE: 8/29 Wires" on 08.29.2019
  843

                            Email re "Global Fuel - Updated Invoice" on 08.29.2019
                              (Global Fuel Logistics Invoice #1001 for $55,000)
  844
                             Email re "Invoices from Global Fuel Logistics, Inc" on
                              08.29.2019 (Global Fuel Logistics Invoice #1023 for
                            $45,000; Invoice #1011 for $45,000; & Invoice #1001 for
  845                                              $56,000)

                              Text messages between M.T. and K.T. on 08.30.2019
  846

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  847

                              Text messages between M.T. and K.T. on 09.06.2019
  848

                              Text messages between M.T. and K.T. on 09.07.2019
  849

                              Text messages between M.T. and K.T. on 09.08.2019
  850

                              Text messages between J.Y. and M.T. on 09.09.2019
  851

                              Text messages between M.T. and K.T. on 09.09.2019
  852

                              Text messages between M.T. and K.T. on 09.10.2019
  853

                              Text messages between M.T. and K.T. on 09.13.2019
  854

                              Text messages between M.T. and K.T. on 09.14.2019
  855

                              Text messages between J.Y. and M.T. on 09.16.2019
  856




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Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                             Brief Description
                                                                                                                                          Only

                             Text messages between J.Y. and M.T. on 09.17.2019
  857

                             Text messages between J.Y. and M.T. on 09.18.2019
  858

                             Text messages between M.T. and K.T. on 09.18.2019
  859

                             Text messages between M.T. and K.T. on 09.22.2019
  860

                             Text messages between M.T. and K.T. on 09.23.2019
  861

                             Text messages between J.Y. and M.T. on 09.25.2019
  862

                             Text messages between J.Y. and M.T. on 09.26.2019
  863

                             Text messages between M.T. and K.T. on 09.26.2019
  864

                             Text messages between J.Y. and M.T. on 09.27.2019
  865

                             Text messages between M.T. and K.T. on 09.28.2019
  866

                             Text messages between M.T. and K.T. on 09.30.2019
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                             Text messages between M.T. and K.T. on 10.02.2019
  869

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  870

                             Text messages between M.T. and K.T. on 10.05.2019
  871




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Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                              Only

                             Text messages between M.T. and K.T. on 10.07.2019
  872

                             Text messages between M.T. and K.T. on 10.08.2019
  873

                             Text messages between M.T. and K.T. on 10.09.2019
  874
                             Email re "Invoices from Aero Maintenance Resources"
                              on 10.11.2019 (Aero Maintenance Resources Invoice
                            #697 for $112,750; Invoice #634 for $75,000; & Invoice
  875                                         #627 for $141,450)

                             Text messages between M.T. and K.T. on 10.11.2019
  876

                             Text messages between M.T. and K.T. on 10.15.2019
  877

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  878

                             Text messages between M.T. and K.T. on 10.19.2019
  879

                             Text messages between M.T. and K.T. on 10.20.2019
  880

                             Text messages between M.T. and K.T. on 10.21.2019
  881

                             Text messages between M.T. and K.T. on 10.22.2019
  882

                             Text messages between M.T. and K.T. on 10.25.2019
  883

                             Text messages between M.T. and K.T. on 10.25.2019
  884

                             Text messages between M.T. and K.T. on 10.31.2019
  885

                             Text messages between M.T. and K.T. on 11.01.2019
  886




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Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only
                             Email re "Invoices from Aero Maintenance Resources"
                              on 11.11.2019 (Aero Maintenance Resources Invoice
                              #1017 for $110,000; Invoice #1021 for $100,000; &
  887                                     Invoice #1103 for $66,750)

                             Text messages between M.T. and K.T. on 11.13.2019
  888

                             Text messages between M.T. and K.T. on 11.14.2019
  889

                             Text messages between M.T. and K.T. on 11.19.2019
  890

                             Text messages between M.T. and K.T. on 11.20.2019
  891

                             Text messages between M.T. and K.T. on 11.21.2019
  892

                             Text messages between M.T. and K.T. on 11.22.2019
  893

                             Text messages between M.T. and K.T. on 11.25.2019
  894

                             Text messages between M.T. and K.T. on 12.01.2019
  895

                             Text messages between M.T. and K.T. on 12.02.2019
  896

                             Text messages between M.T. and K.T. on 12.03.2019
  897

                             Text messages between M.T. and K.T. on 12.04.2019
  898

                             Text messages between M.T. and K.T. on 12.06.2019
  899

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  900

                             Text messages between M.T. and K.T. on 12.11.2019
  901




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Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                              Text messages between M.T. and K.T. on 12.13.2019
  902
                             Email re "Invoices from Aero Maintenance Resources"
                              on 12.17.2019 (Aero Maintenance Resources Invoice
                            #2110 for $49,750; Invoice #2325 for $83,400; & Invoice
  903                                         #2392 for $85,250)

                              Text messages between M.T. and K.T. on 12.20.2019
  904

                              Text messages between M.T. and K.T. on 12.21.2019
  905

                              Text messages between M.T. and K.T. on 12.30.2019
  906

                              Text messages between M.T. and K.T. on 12.31.2019
  907

                              Text messages between M.T. and K.T. on 01.03.2020
  908

                              Text messages between M.T. and K.T. on 01.07.2020
  909

                              Text messages between M.T. and K.T. on 01.08.2020
  910

                              Text messages between M.T. and K.T. on 01.09.2020
  911
                             Email re "Invoices from Aero Maintenance Resources"
                              on 01.09.2020 (Aero Maintenance Resources Invoice
                            #2515 for $79,950; Invoice #2479 for $87,200; & Invoice
  912                                         #2601 for $148,200)

                              Text messages between M.T. and K.T. on 01.10.2020
  913

                              Text messages between M.T. and K.T. on 01.11.2020
  914

                              Text messages between M.T. and K.T. on 01.13.2020
  915

                              Text messages between M.T. and K.T. on 01.16.2020
  916




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Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                            Only

                             Text messages between M.T. and K.T. on 01.17.2020
  917

                             Text messages between M.T. and K.T. on 01.22.2020
  918

                             Text messages between M.T. and K.T. on 01.26.2020
  919

                             Text messages between M.T. and K.T. on 01.28.2020
  920

                             Text messages between M.T. and K.T. on 01.29.2020
  921

                             Text messages between M.T. and K.T. on 01.31.2020
  922

                             Text messages between M.T. and K.T. on 02.01.2020
  923

                             Text messages between M.T. and K.T. on 02.05.2020
  924

                             Text messages between M.T. and K.T. on 02.12.2020
  925

                             Text messages between M.T. and K.T. on 02.13.2020
  926

                             Text messages between M.T. and K.T. on 02.15.2020
  927
                             Email re "Invoices from Aero Maintenance Resources"
                              on 02.18.2020 (Aero Maintenance Resources Invoice
  928                          #2807 for $15,689; & Invoice #2753 for $99,211)

                             Text messages between M.T. and K.T. on 02.25.2020
  929

                             Text messages between M.T. and K.T. on 02.26.2020
  930

                             Text messages between M.T. and K.T. on 03.03.2020
  931




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Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                              Text messages between M.T. and K.T. on 03.06.2020
  932
                             Email re "Invoices from Aero Maintenance Resources"
                              on 03.09.2020 (Aero Maintenance Resources Invoice
                            #3004 for $95,000; Invoice #2987 for $33,520; & Invoice
  933                                         #2901 for $90,180)

                              Text messages between M.T. and K.T. on 03.10.2020
  934
                            Email re "Aero Maintenance Invoices for February 2020"
                             on 03.11.2020 (Aero Maintenance Resources Invoice
  935                                        #2990 for $73,000)

                              Text messages between M.T. and K.T. on 03.11.2020
  936

                              Text messages between M.T. and K.T. on 03.17.2020
  937

                              Text messages between M.T. and K.T. on 03.18.2020
  938

                                    Email re NO SUBJECT on 03.19.2020
  939

                              Text messages between M.T. and K.T. on 03.20.2020
  940

                              Text messages between M.T. and K.T. on 03.22.2020
  941

                              Text messages between M.T. and K.T. on 03.23.2020
  942

                              Text messages between M.T. and K.T. on 03.28.2020
  943

                              Text messages between M.T. and K.T. on 03.30.2020
  944

                              Text messages between M.T. and K.T. on 04.01.2020
  945

                              Text messages between M.T. and K.T. on 04.02.2020
  946




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Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

                             Text messages between M.T. and K.T. on 04.05.2020
  947

                             Text messages between M.T. and K.T. on 04.06.2020
  948

                             Text messages between M.T. and K.T. on 04.08.2020
  949
                            Email re "Invoices for Aero Maintenance Resources" on
                            04.14.2020 (Aero Maintenance Resources Invoice #4001
  950                             for $87,045; & Invoice #3176 for $127,155)

                             Text messages between M.T. and K.T. on 04.14.2020
  951
                            Email re "Aero Maintenance Invoices for April 2020" on
                            04.16.2020 (Aero Maintenance Resources Invoice #5120
  952                            for $105,603; & Invoice #4784 for $114,685)

                              Email re "Invoice for Global Fuel Logistics, Inc." on
                              04.27.2020 (Global Fuel Logistics Invoice #7988 for
  953                                              $124,785)

                             Email re "Invoice for Aero Maintenance Resources 2
                               March 2020" on 05.04.2020 (Aero Maintenance
  954                               Resources Invoice #3101 for $61,255)

                              Email re "Invoice for Global Fuel Logistics, Inc." on
                              05.11.2020 (Global Fuel Logistics Invoice #8011 for
  955                                               $83,090)

                             Text messages between M.T. and K.T. on 05.12.2020
  956

                             Text messages between M.T. and K.T. on 05.23.2020
  957

                             Text messages between M.T. and K.T. on 05.28.2020
  958
                            Email re "Invoices for May 2020" on 06.03.2020 (Aero
                             Maintenance Resources Invoice #8888 for $153,725;
                             Global Fuel Logistics Invoice #9014 for $159,882; &
  959                         Global Fuel Logistics Invoice #9071 for $164,065)

                             Text messages between M.T. and K.T. on 06.07.2020
  960

                             Text messages between M.T. and K.T. on 06.09.2020
  961




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Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                                Only

                              Text messages between M.T. and K.T. on 06.10.2020
  962

                              Text messages between M.T. and K.T. on 06.11.2020
  963

                              Text messages between M.T. and K.T. on 06.16.2020
  964

                              Text messages between M.T. and K.T. on 06.17.2020
  965

                              Text messages between M.T. and K.T. on 06.24.2020
  966

                              Text messages between M.T. and K.T. on 06.25.2020
  967

                              Text messages between M.T. and K.T. on 06.26.2020
  968
                            Email re "Invoices for June 2020" on 06.30.2020 (Global
                             Fuel Logistics Invoice #10101 for $170,274.50; Aero
                             Maintenance Resources Invoice #9302 for $194,803; &
  969                         Global Fuel Logistics Invoice #11812 for $127,264)

                              Text messages between M.T. and K.T. on 06.29.2020
  970

                              Text messages between M.T. and K.T. on 07.01.2020
  971

                              Text messages between J.Y. and K.T. on 07.01.2020
  972

                            Email re "Invoice for July 1 2020" on 07.02.2020 (Global
                                   Fuel Logistics Invoice #10226 for $95,000)
  973

                             Audio recording of consensual phone call between J.Y.
                                           and M.T. on 07.07.2020
  974

                             Audio recording of consensual phone call between J.Y.
                                           and M.T. on 07.08.2020
  975

                              Text messages between J.Y. and M.T. on 07.08.2020
  976




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Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                              Only

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  977

                               Email re Kimberley Tew $10,000 Invoice, dated
                                                12.31.2018
  978

                             Email re ACH Payment Questions, dated 04.17.2019
  979

                             Email re Lululemon Order Confirmation to Amy Tew,
                                              dated 11.04.2018
  980

                             Email re Lilly Pulitzer Shipping Confirmation to Amy
                                             Tew, dated 10.18.2018
  981

                            Email re Lilly Pulitzer Order Confirmation to Amy Tew,
                                                dated 10.17.2018
  982

                            Email re Saks Fifth Avenue Order Confirmation to Amy
                                            Tew, dated 10.18.2018
  983

                            Email re Zappos Order Confirmation to Amy Tew, dated
                                                 11.03.2018
  984

                               Email re Kimberley Tew Introduction & Contact
                                        Information, dated 01.30.2018
  985

                             Invoice #001 re Kimberley Tew for $10,000.00, dated
                                                 02.08.2018
  986

                             Transcript of consensual phone call between J.Y. and
                                              M.T. on 07.07.2020
  987

                             Transcript of consensual phone call between J.Y. and
                                              M.T. on 07.08.2020
  988

                             Text messages between M.T. and K.T. on 08.28.2019
  989

                             Text messages between M.T. and K.T. on 09.18.2019
  990

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Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

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 1001                           Account Owners and Signors for Relevant Bank
                                                 Accounts


 1002                          Payments of Fraudulent Invoices by NAC between
                                         August 2018 and July 2020


 1003                       Deposits of Fraudulent Invoices by NAC between August
                                              2018 and July 2020

                              Summary of Hanna Scaife CPA, Meyers Consulting
 1004                        Group, and 5530 Jessamine Development Invoices and
                                                  Payments

 1005                         Summary of Political Media Invoices and Payments


 1006                           Summary of Global Fuel Logistics Invoices and
                                                Payments

                            Summary of Aero Maintenance Resources Invoices and
                                               Payments
 1007

                                        Summary - Calendar of Events
 1008

                                            Summary - Count 42
 1009

                                            Summary - Count 43
 1010

                                            Summary - Count 44
 1011

                                            Summary - Count 45
 1012

                                            Summary - Count 46
 1013

                                            Summary - Count 47
 1014




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Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                              Brief Description
                                                                                                                                             Only

                                             Summary - Count 48
 1015

                                             Summary - Count 49
 1016

                                             Summary - Count 50
 1017

                                             Summary - Count 51
 1018

                                             Summary - Count 52
 1019

                                             Summary - Count 53
 1020

                                             Summary - Count 54
 1021

                                             Summary - Count 55
 1022

                                             Summary - Count 56
 1023

                               Summary - M. Tew Transactions and Photographs
 1024

                               Summary - K. Tew Transactions and Photographs
 1025

                            Summary - M. and K. Tew Transactions and Photographs
 1026

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 1100                         Certificate of Authenticity for Atlantic Union Bank


 1101                              Certificate of Authenticity for ANB Bank




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Exhibit   Witness                                                                            Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                                 Only

 1102                              Certificate of Authenticity for ANB Bank


 1103                                 Certificate of Authenticity for BBVA


 1104                                 Certificate of Authenticity for BBVA


 1105                       Certificate of Authenticity for Guaranty Bank and Trust
                                                   Company


 1106                                Certificate of Authenticity for Kraken


 1107                       Certificate of Authenticity for Navy Federal Credit Union


 1108                               Certificate of Authenticity for GoDaddy


 1109                                Certificate of Authenticity for Google


 1110                                Certificate of Authenticity for Verizon


 1111                             Certificate of Authenticity for Regions Bank


 1112                            Certificate of Authenticity for Simple Finance
                                                Technology Corp


 1113                            Certificate of Authenticity for Signature Bank


 1114                                Certificate of Authenticity for Google


 1115                                 Certificate of Authenticity for Apple


 1116                                Certificate of Authenticity for Google




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Exhibit   Witness                                                                            Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                                 Only

 1117                                Certificate of Authenticity for Google


 1118                                 Certificate of Authenticity for Vcorp


 1119                           Certificate of Authenticity for Wells Fargo Bank


 1120                           Certificate of Authenticity for Wells Fargo Bank


 1121                           Certificate of Authenticity for Wynn Las Vegas


 1122                                Certificate of Authenticity for Google


 1123                                Certificate of Authenticity for Google


 1124                                Certificate of Authenticity for Google


 1125                                Certificate of Authenticity for Google


 1126                                Certificate of Authenticity for Google


 1127                                 Certificate of Authenticity for AT&T


 1128                       Certificate of Authenticity for Navy Federal Credit Union


 1129                           Certificate of Authenticity for American Express


 1130                          Certificate of Authenticity for National Air Cargo


 1131                        Certificate of Authenticity for McDonald Automotive
                                                     (Audi)




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Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                               Brief Description
                                                                                                                                               Only

 1132                             Certificate of Authenticity for Digital Mint


 1133                             Certificate of Authenticity for Digital Mint


 1134                         Certification of Authenticity for National Air Cargo


 1135                        Certification of Authenticity for Access National Bank


 1136                              Certification of Authenticity for Coinbase


 1137                              Certification of Authenticity for Coinbase


 1138                              Certification of Authenticity for Coinbase


 1139                             Certification of Authenticity for Navy FCU


 1140                               Certification of Authenticity for Apple


 1141                                       Certification for Google




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